Exhibit 1
                              UNITED STA TES DISTRICT COURT
                               SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION



    In re RCI Hospitality Holdings, Inc.             Master File No.: 4:19-cv-01841-AHB
    Securities Litigation


                    STIPULATION AND AGREEMENT OF SETTLEMENT

          This Stipulation and Agreement of Settlement, dated as of April 14, 2022 (the

"Stipulation") is entered into between Roger DeMaggio, Patrick Prahl, Justin Kinslow, Joseph

Milo, and Edgar M. Kee (collectively, "Lead Plaintiffs"), on behalf of themselves and the

Settlement Class (defined below); and defendant RCI Hospitality Holdings, Inc. ("RCI" or the

"Company") and defendants Eric Langan ("Langan"), Phillip Marsha11 ("Marshall"), Nour-Dean

Anakar ("Anakar"), and Steven L. Jenkins ("Jenkins") (collectively, the "Individual

Defendants," and, together with RCI, the "Defendants"), and embodies the terms and conditions

of the settlement of the above-captioned action (the "Action"). 1 Subject to the approval of the

Court and the terms and conditions expressly provided herein, this Stipulation is intended to

fully, finally and forever compromise, settle, release, resolve, and dismiss with prejudice the

Action and all claims asserted therein against Defendants.

         WHEREAS:

         A.      Beginning on May 21, 2019, three class action complaints were filed in the

United States District Court for the Southern District of Texas (the "Court"), styled Hoffman v.

RCI Hospitality Holdings, Inc. et al., No. 4:19-cv-01841 (AHB), Gu v. RCI Hospitality

Holdings, Inc. et al., No. 4:19-cv-01917 (KPE), and Grossman v. RCI Hospitality Holdings, Inc.

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   All terms with initial capitalization not otherwise defined herein shall have the meanings
ascribed to them in ~ 1 herein.
eta!., No. 4:19-cv-02318 (KMH).

        B.     By Order dated January 10, 2020, the Court ordered that the cases be consolidated

and recaptioned as In re RCI Hospitality Holdings, Inc. Securities Litigation, Master File No.

4: 19-cv-0 1841; appointed Roger DeMaggio, Patrick Prahl, Justin Kinslow, Joseph Milo, and

Edgar M. Kee as -Lead Plaintiffs for the consolidated action; and approved Lead Plaintiffs'

selection of Glancy Prongay & Murray LLP and The Rosen Law Firm, P.A. as Lead Counsel and

Kendall Law Group, PLLC as Liaison Counsel for the class. ECF No. 23.

       C.      On February 24, 2020, Lead Plaintiffs filed and served their Amended Class

Action Complaint for Violations of the Federal Securities Laws (the "Complaint") asserting

claims against all Defendants under Section 10(b) of the Securities Exchange Act of 1934 (the

"Exchange Act") and Rule 10b-5 promulgated thereunder, and against Individual Defendants

under Section 20(a) of the Exchange Act.        Among other things, the Complaint alleged that

Defendants made materially false and misleading statements and omissions about the Company's

related party transactions and the adequacy of its internal controls.       The Complaint further

alleged that the prices of RCI's publicly-traded securities were artificially inflated as a result of

Defendants' allegedly false and misleading statements, and declined when the truth was

revealed. ECF No. 27.

       D.      On April 24, 2020, Defendants filed and served a motion to dismiss the

Complaint. ECF No. 37. On June 23, 2020, Lead Plaintiffs served their papers in opposition

(ECF Nos. 38-39) and, on July 23, 2020, Defendants served their reply papers (ECF No. 41).

       E.      On September 28, 2020, Lead Plaintiffs filed and served a request for judicial

notice of two exhibits and a notice of supplement authority. ECF No. 42. On October 8, 2020,

Defendants filed their response to Lead Plaintiffs' request. ECF No. 43.



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        F.     On March 31, 2021, the Court denied Defendants' motion to dismiss m its

entirety. ECF No. 44. 2

        G.     On April 14, 2021. Defendants filed and served their answer and affirmative

defenses to the Complaint. ECF No. 45.

       H.      On April 30, 2021, the Parties submitted their joint report pursuant to Fed. R. Civ.

P. Rule 26(f) and a proposed scheduling order (ECF No. 52), which was subsequently amended

on June 7, 2021 (ECF No. 54).

       I.      From May 2021 through December 2021, the Parties engaged in fact discovery.

The Parties exchanged initial disclosures on May 24, 2021. The Parties negotiated an agreed

confidentiality order (ECF No. 53) and a protocol to govern the production of electronically

stored information and other documents in the Action (ECF No. 56). Lead Plaintiffs served their

first set of requests for production of documents on June 29, 2021. Lead Plaintiffs also served

three (3) third-party subpoenas for production of documents on various third parties, including

two furniture fabrication companies owned by close relatives of the Company' s CEO and a

construction company which provided services to RCI, in addition to a Freedom of Information

Act request to the SEC. Over the course of the approximately eight-month discovery period,

Lead Counsel reviewed and analyzed more than 45,936 pages of documents produced by

Defendants and third parties.

       J.      While Lead Plaintiffs were actively pursuing fact discovery, the Parties agreed to

participate in private mediation. The Parties selected Michelle Yoshida, Esq., of Phillips ADR to

serve as a mediator. The Parties exchanged extensive mediation statements and exhibits that

addressed, among other things, issues related to liability and damages. The Parties participated


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  The Court denied without prejudice Lead Plaintiffs' request for judicial notice as moot because
the Complaint was sufficient to survive Defendants' motion to dismiss. Id. at 3.
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in a full-day mediation session that took place virtually and in person in Corona Del Mar,

California on January 13, 2022. The session ended without any agreement being reached.

        K.      Over the course of the next several days, Ms. Yoshida conducted further

discussions with the Parties, which culminated in a mediator's recommendation to resolve the

Action for $2,200,000 in cash for the benefit of the Settlement Class, which the Parties accepted

on January 22, 2022. The agreement to settle was subject to certain terms and conditions and the

execution of a customary "long form" stipulation and agreement of settlement and related papers.

        L.      This Stipulation (together with the exhibits hereto) reflects the final and binding

agreement between the Parties.

        M.      Based upon their investigation, prosecution and mediation of the case, Lead

Plaintiffs and Lead Counsel have concluded that the terms and conditions of this Stipulation are

fair, reasonable and adequate to Lead Plaintiffs and the other members of the Settlement Class,

and in their best interests. Based on Lead Plaintiffs' direct oversight of the prosecution of this

matter and with the advice of their counsel, Lead Plaintiffs have agreed to settle and release the

claims raised in the Action pursuant to the terms and provisions of this Stipulation, after

considering, among other things: (a) the substantial financial benefit that Lead Plaintiffs and the

other members of the Settlement Class will receive under the proposed Settlement; and (b) the

significant risks and costs of continued litigation and trial.

       N.       This Stipulation constitutes a compromise of matters that are in dispute between

the Parties. Defendants are entering into this Stipulation solely to eliminate the uncertainty,

burden and expense of further protracted litigation. Each Defendant denies any wrongdoing, and

this Stipulation shall in no event be construed or deemed to be evidence of or an admission or

concession on the part of any of the Defendants or any of Defendants' Releasees (defined below)



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with respect to any claim or allegation of any fault or liability or wrongdoing or damage

whatsoever, or any infirmity in the defenses that Defendants have, or could have, asserted.

Defendants expressly deny that Lead Plaintiffs asserted any valid claims as to any of them, and

expressly deny any and all allegations of fault, liability, wrongdoing or damages whatsoever.

Similarly, this Stipulation shall in no event be construed or deemed to be evidence of or an

admission or concession on the part of Lead Plaintiffs of any infirmity in any of the claims

asserted in the Action, or an admission or concession that any of Defendants' defenses to liability

had any merit. Each Party recognizes and acknowledges, however, that the Action has been

initiated, filed and prosecuted by Lead Plaintiffs in good faith and defended by Defendants in

good faith, and that the Action is being voluntarily settled with the advice of counsel.

       NOW THEREFORE, it is hereby STIPULATED AND AGREED, by and among Lead

Plaintiffs (individually and on behalf of all other members of the Settlement Class) and

Defendants, by and through their respective undersigned attorneys and subject to the approval of

the Court pursuant to Rule 23(e) of the Federal Rules of Civil Procedure, that, in consideration of

the benefits flowing to the Parties from the Settlement, all Released Plaintiffs' Claims as against

Defendants' Releasees and all Released Defendants' Claims as against Plaintiffs' Releasees shall

be fully, finally and forever settled, released, discharged and dismissed with prejudice, upon and

subject to the terms and conditions set forth below.

                                         DEFINITIONS

       1.      As used in this Stipulation and any exhibits attached hereto and made a part

hereof, the following capitalized terms shall have the following meanings:

               (a)    "Action" means the securities class action styled, In re RC! Hospitality

Holdings Inc., Securities Litigation, Master File No. 4:19-cv-01841-AHB. and includes all



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actions consolidated therein.

                 (b)    "Alternate Judgment" means a form of final judgment that may be entered

by the Court herein but in a form other than the form of Judgment provided for in this

Stipulation.

                 (c)    "Authorized Claimant" means a Settlement Class Member who submits a

Proof of Claim Form to the Claims Administrator that is approved by the Court for payment

from the Net Settlement Fund.

                 (d)    "Claim" means a Proof of Claim Form submitted to the Claims

Administrator.

                 (e)    "Claim Form" or "Proof of Claim Form" means the form, substantially in

the form attached hereto as Exhibit 2 to Exhibit A, that a Claimant or Settlement Class Member

must complete and submit should that Claimant or Settlement Class Member seek to share in a

distribution of the Net Settlement Fund.

                 (f)    "Claimant" means a person or entity who or which submits a Claim Form

to the Claims Administrator seeking to be eligible to share in the proceeds of the Settlement

Fund.

                 (g)    "Claims Administrator" means the firm retained by Lead Plaintiffs and

Lead Counsel, subject to approval of the Court, to provide all notices approved by the Court to

potential Settlement Class Members and to administer the Settlement.

                 (h)    "Class Distribution Order" means an order entered by the Court

authorizing and directing that the Net Settlement Fund be distributed, in whole or in part, to

Authorized Claimants.




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                (i)    "Complaint" means the Amended Class Action Complaint for Violations

of the Federal Securities Laws filed by Lead Plaintiffs on February 24, 2020.

                U)     "Court" means the United States District Court for the Southern District of

Texas.

               (k)     "Defendants" means RCI and Individual Defendants.

                (1)    "Defendants' Counsel" means DLA Piper LLP (US).

               (m)     "Defendants' Releasees" means Defendants and their current and former

officers, directors, agents, parents, affiliates, subsidiaries, successors, predecessors, assigns,

assignees, employees, trusts, insurers, reinsuers, and attorneys, in their capacities as such.

               (n)     "Effective Date" with respect to the Settlement means the first date by

which all of the events and conditions specified in ,i 31 of this Stipulation have been met and

have occurred or have been waived.

               (o)     "Escrow Account" means an account maintained at The Huntington

National Bank wherein the Settlement Amount shall be deposited and held in escrow under the

control of Lead Counsel.

               (p)     "Escrow Agent" means The Huntington National Bank.

               (q)     "Excluded Claims" means (i) any claims relating to the enforcement of the

Settlement; and (ii) any claims of any person or entity who or which submits a request for

exclusion from the Settlement Class that is accepted by the Court.

               (r)     "Final," with respect to the Judgment or, if applicable, the Alternate

Judgment, or any other court order, means: (i) if no appeal is filed, the expiration date of the time

provided for filing or noticing any appeal under the Federal Rules of Appellate Procedure, i.e.,

thirty (30) days after entry of the judgment or order; or (ii) if there is an appeal from the



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judgment or order, (a) the date of final dismissal of all such appeals, or the final dismissal of any

proceeding on certiorari or otherwise, or (b) the date the judgment or order is finally affirmed on

an appeal, the expiration of the time to file a petition for a writ of certiorari or other form of

review, or the denial of a writ of certiorari or other form of review, and, if certiorari or other

form of review is granted, the date of final affirmance following review pursuant to that grant.

However, any appeal or proceeding seeking subsequent judicial review pertaining solely to an

order issued with respect to (i) attorneys' fees, costs or expenses, or (ii) the plan of allocation of

Settlement proceeds (as submitted or subsequently modified), shall not in any way delay or

preclude a judgment from becoming Final.

               (s)     "Immediate Family" means children, stepchildren, parents, stepparents,

spouses, siblings, mothers-in-law, fathers-in-law, sons-in-law, daughters-in-law, brothers-in-law,

and sisters-in-law.   As used in this paragraph, "spouse" shall mean a husband, a wife, or a

partner in a state-recognized domestic relationship or civil union.

               (t)     "Individual Defendants" means Langan, Marshall, Anakar, and Jenkins.

               (u)     "Judgment" means the final judgment, substantially in the form attached

hereto as Exhibit B, to be entered by the Court approving the Settlement.

               (v)     "Lead Counsel" means the law firms of Glancy Prongay & Murray LLP

and The Rosen Law Firm, P.A.

               (w)     "Lead Plaintiffs" means Roger DeMaggio, Patrick Prahl, Justin Kinslow,

Joseph Milo, and Edgar M. Kee.

               (x)     "Liaison Counsel" means the law firm of Kendall Law Group, PLLC.

               (y)     "Litigation Expenses" means costs and expenses incurred in connection

with commencmg, prosecuting and settling the Action (which may include the costs and



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expenses of Lead Plaintiffs directly related to their representation of the Settlement Class), for

which Lead Counsel intends to apply to the Court for reimbursement from the Settlement Fund.

               (z)     "Net Settlement Fund" means the Settlement Fund less: (i) any Taxes;

(ii) any Notice and Administration Costs; (iii) any Litigation Expenses awarded by the Court;

and (iv) any attorneys' fees awarded by the Court.

               (aa)    "Notice" means the Notice of (I) Pendency of Class Action, Certification

of Settlement Class, and Proposed Settlement; (II) Settlement Hearing; and (III) Motion for an

Award of Attorneys' Fees and Reimbursement of Litigation Expenses, substantially in the form

attached hereto as Exhibit 1 to Exhibit A, which shall be made available online at a website

maintained by the Claims Administrator or mailed to Settlement Class Members upon request.

               (bb)    "Notice and Administration Costs" means the costs, fees and expenses that

are incurred by the Claims Administrator and/or Lead Counsel in connection with: (i) providing

notices to the Settlement Class; and (ii) administering the Settlement, including but not limited to

the Claims process, as well as the costs, fees and expenses incurred in connection with the

Escrow Account.

               (cc)    "Parties" means Defendants and Lead Plaintiffs, on behalf of themselves

and the Settlement Class.

               (dd)    "Plaintiffs' Counsel" means Lead Counsel and all other legal counsel who,

at the direction and under the supervision of Lead Counsel, performed services on behalf of the

Settlement Class in the Action.

               (ee)    "Plaintiffs' Releasees" means Lead Plaintiffs, all other plaintiffs in the

Action, their respective attorneys, and all other Settlement Class Members, and their respective




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current and former officers, directors, agents, parents, affiliates, subsidiaries, successors,

predecessors, assigns, assignees, employees, trusts, and attorneys, in their capacities as such.

               (ff)    "Plan of Allocation" means the proposed plan of allocation of the Net

Settlement Fund set forth in the Notice.

               (gg)    "Postcard Notice" means the Postcard Notice of (I) Pendency of Class

Action, Certification of Settlement Class, and Proposed Settlement; (II) Settlement Hearing; and

(111) Motion for an Award of Attorneys' Fees and Reimbursement of Litigation Expenses,

substantially in the form attached hereto as Exhibit 4 to Exhibit A, which is to be mailed to

Settlement Class Members.

               (hh)    "Preliminary Approval Order" means the order, substantially in the form

attached hereto as Exhibit A, to be entered by the Court preliminarily approving the Settlement

and directing that notice of the Settlement be provided to the Settlement Class.

               (ii)    "PSLRA" means the Private Securities Litigation Reform Act of 1995, 15

U.S.C. § 78u-4, as amended.

               (jj)    "RCI" or the "Company" means RCI Hospitality Holdings, Inc.

               (kk)    "Released Claims" means all Released Defendants' Claims and all

Released Plaintiffs' Claims.

               (11)   "Released Defendants' Claims" means all claims and causes of action of

every nature and description, whether known claims or Unknown Claims, whether arising under

federal, state, common or foreign law, that arise out of or relate in any way to the institution,

prosecution, or settlement of the claims asserted in the Action against Defendants. Released

Defendants' Claims do not include any claims relating to the enforcement of the Settlement or




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any claims against any person or entity who or which submits a request for exclusion from the

Settlement Class that is accepted by the Court.

               (mm) "Released Plaintiffs' Claims" means all claims and causes of action of

every nature and description, whether known claims or Unknown Claims, whether arising under

federal, state, common or foreign law, that Lead Plaintiffs or any other member of the Settlement

Class: (i) asserted in the Complaint; or (ii) could have asserted in any forum that arise out of or

are based upon the allegations, transactions, facts, matters or occurrences, representations or

omissions involved, set forth, or referred to in the Complaint and that relate to the purchase of

RCI common stock during the Settlement Class Period. Released Plaintiffs' Claims do not

include: (i) any claims relating to the enforcement of the Settlement; (ii) any claims of any

person or entity who or which submits a request for exclusion that is accepted by the Court; and

(iii) claims asserted in the derivative action currently pending in the United States District Court

for the Southern District of Texas, captioned Stein v. Anakar, et al., No. 4:22-mc-00149.

               (nn)    "Releasee(s)" means each and any of the Defendants' Releasees and each

and any of the Plaintiffs' Releasees.

               (oo)    "Releases" means the releases set forth in~~ 5-6 of this Stipulation.

               (pp)    "Settlement" means the          settlement between Lead Plaintiffs and

Defendants on the terms and conditions set forth in this Stipulation.

               (qq)    "Settlement Amount" means $2,200,000 in cash.

               (rr)    "Settlement Class" means all persons and entities who or which purchased

or otherwise acquired RCI common stock between December 13, 2016 and July 18, 2019,

inclusive (the "Settlement Class Period"), and who were damaged thereby. Excluded from the

Settlement Class are (1) persons who suffered no compensable losses; and (2) (a) Defendants; (b)



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the legal representatives, heirs, successors, assigns, and members of the immediate families of

the Individual Defendants; (c) the parents, subsidiaries, assigns, successors, predecessors and

affiliates of RCI; (d) any persons who served as officers and/or directors of RCI during the

Settlement Class Period, and/or as an officer or director of any related party of RCI or the

Individual Defendants as alleged in the operative complaint, and their immediate family

members; (e) any entity in which any of the foregoing (a)-(d) excluded persons have or had a

majority ownership interest during the Settlement Class Period; (f) any trust of which any

Individual Defendant is the settlor or which is for the benefit of any Individual Defendant and/or

member(s) of his or her immediate family; and (g) Defendants' liability insurance carriers. Also

excluded from the Settlement Class are any persons and entities who or which validly exclude

themselves by submitting a request for exclusion that is accepted by the Court.

                  ( ss)   "Settlement Class Member" means each person and entity who or which is

a member of the Settlement Class.

               (tt)       "Settlement Class Period" means the period between December 13, 2016

and July 18, 2019, inclusive.

               (uu)       "Settlement Fund" means the Settlement Amount plus any and all interest

earned thereon.

               (vv)       "Settlement Hearing" means the hearing set by the Court under

Rule 23( e)(2) of the Federal Rules of Civil Procedure to consider final approval of the Settlement

and the Plan of Allocation, and Lead Counsel's application for an award of attorneys' fees and

reimbursement of Litigation Expenses.

               (ww) "Summary Notice" means the Summary Notice of (I) Pendency of Class

Action, Certification of Settlement Class, and Proposed Settlement; (II) Settlement Hearing; and



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(III) Motion for an Award of Attorneys' Fees and Reimbursement of Litigation Expenses,

substantially in the form attached hereto as Exhibit 3 to Exhibit A, to be published as set forth in

the Preliminary Approval Order.

               (xx)    "Taxes" means: (i) all federal, state and/or local taxes of any kind

(including any interest or penalties thereon) on any income earned by the Settlement Fund; and

(ii) the expenses and costs incurred by Lead Counsel in connection with determining the amount

of, and paying, any taxes owed by the Settlement Fund (including, without limitation, expenses

of tax attorneys and accountants.

               (yy)    "Unknown Claims" means any Released Plaintiffs' Claims which any

Lead Plaintiff or any other Settlement Class Member does not know or suspect to exist in his, her

or its favor at the time of the release of such claims, and any Released Defendants' Claims which

any Defendants' Releasee does not know or suspect to exist in his, her, or its favor at the time of

the release of such claims, which, if known by him, her or it, might have affected his, her or its

decision(s) with respect to this Settlement. With respect to any and all Released Claims, the

Parties stipulate and agree that, upon the Effective Date of the Settlement, Lead Plaintiffs and

Defendants shall expressly waive, and each of the other Settlement Class Members and each of

the other Defendants' Releasees shall be deemed to have waived, and by operation of the

Judgment or the Alternate Judgment, if applicable, shall have expressly waived, any and all

provisions, rights, and benefits conferred by any law of any state or territory of the United States,

or principle of common law or foreign law, which is similar, comparable, or equivalent to

California Civil Code § 1542, which provides:

       A general release does not extend to claims that the creditor or releasing party
       does not know or suspect to exist in his or her favor at the time of executing the
       release and that, if known by him or her, would have materially affected his or her
       settlement with the debtor or released party.


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Lead Plaintiffs and Defendants acknowledge, and each of the other Settlement Class Members

and each of the other Defendants' Releasees shall be deemed by operation of law to have

acknowledged, that the foregoing waiver was separately bargained for and a key element of the

Settlement.

                                   CLASS CERTIFICATION

        2.     Solely for purposes of the Settlement and for no other purpose, Defendants

stipulate and agree to: (a) certification of the Action as a class action pursuant to Rules 23(a) and

23(b)(3) of the Federal Rules of Civil Procedure on behalf of the Settlement Class; (b)

certification of Lead Plaintiffs as Class Representatives for the Settlement Class; and

(c) appointment of Lead Counsel as Class Counsel for the Settlement Class pursuant to

Rule 23(g) of the Federal Rules of Civil Procedure.

                      PRELIMINARY APPROVAL OF SETTLEMENT

        3.     Promptly upon execution of this Stipulation, Lead Plaintiffs will move for

preliminary approval of the Settlement, certification of the Settlement Class for settlement

purposes only, and the scheduling of a hearing for consideration of final approval of the

Settlement, which motion shall be unopposed by Defendants. Concurrently with the motion for

preliminary approval, Lead Plaintiffs shall apply to the Court for, and Defendants shall agree to,

entry of the Preliminary Approval Order, substantially in the form attached hereto as Exhibit A.

                                    RELEASE OF CLAIMS

        4.     The obligations incurred pursuant to this Stipulation are in consideration of: (i)

the full and final disposition of the Action as against Defendants; and (ii) the Releases provided

for herein.




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        5.     Pursuant to the Judgment, or the Alternate Judgment, if applicable, without

further action by anyone, upon the Effective Date of the Settlement, Lead Plaintiffs and each of

the other Settlement Class Members, on behalf of themselves, and their respective heirs,

executors, administrators, predecessors, successors, trusts and assigns in their capacities as such,

shall be deemed to have, and by operation of law and of the judgment shall have, fully, finally

and forever compromised, settled, released, resolved, relinquished, waived and discharged each

and every Released Plaintiffs' Claim against the Defendants and the other Defendants'

Releasees, and shaII forever be barred and enjoined from prosecuting any or aII of the Released

Plaintiffs' Claims against any of the Defendants' Releasees. This release sha11 not apply to any

Excluded Claim, and it does not extend to, and specifically excludes, claims asserted

in the derivative action currently pending in the United States District Court for the Southern

District of Texas, captioned Stein v. Anakar, et al., No. 4:22-mc-00149.

       6.      Pursuant to the Judgment, or the Alternate Judgment, if applicable, without

further action by anyone, upon the Effective Date of the Settlement, Defendants, on behalf of

themselves, and their respective heirs, executors, administrators, predecessors, successors, trusts,

and assigns in their capacities as such, shall be deemed to have, and by operation of law and of

the judgment shall have, fully, finally and forever compromised, settled, released, resolved,

relinquished, waived and discharged each and every Released Defendants' Claim against Lead

Plaintiffs and the other Plaintiffs' Releasees, and shall forever be barred and enjoined from

prosecuting any or all of the Released Defendants' Claims against any of the Plaintiffs'

Releasees. This release shall not apply to any person or entity who or which submits a request

for exclusion from the Settlement Class that is accepted by the Court.




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        7.     Notwithstanding    ,r,r 5-6   above, nothing in the Judgment, or the Alternate

Judgment, if applicable, shall bar any action by any of the Parties to enforce or effectuate the

terms of this Stipulation or the Judgment, or Alternate Judgment, if applicable.

                           THE SETTLEMENT CONSIDERATION

        8.     In consideration of the settlement of the Released Plaintiffs' Claims against

Defendants' Releasees, Defendants shall pay or cause to be paid the Settlement Amount by

check or wire into the Escrow Account no later than twenty (20) business days after the later of:

(a) the date of entry by the Court of an order preliminarily approving this Settlement; or (b)

Defendants' Counsel's receipt from Lead Counsel of the information necessary to effectuate

payment by check or a wire transfer of funds to the Escrow Account (the latter to include the

bank name and ABA routing number, account name and number), including a signed W-9

reflecting a valid taxpayer identification number for the qualified settlement fund in which the

Settlement Amount is to be deposited.

                                USE OF SETTLEMENT FUND

       9.      The Settlement Fund shall be used to pay: (a) any Taxes; (b) any Notice and

Administration Costs; (c) any Litigation Expenses awarded by the Court; and (d) any attorneys'

fees awarded by the Court. The balance remaining in the Settlement Fund, that is, the Net

Settlement Fund, shall be distributed to Authorized Claimants as provided in ,J,J 18-29 below.

        10.    Except as provided herein or pursuant to orders of the Court, the Net Settlement

Fund shall remain in the Escrow Account prior to the Effective Date. All funds held by the

Escrow Agent shall be deemed to be in the custody of the Court and shall remain subject to the

jurisdiction of the Court until such time as the funds shall be distributed or returned pursuant to

the terms of this Stipulation and/or further order of the Court. The Escrow Agent shall invest



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any funds in the Escrow Account exclusively in instruments or accounts backed by the full faith

and credit of the United States Government or fully insured by the United States Government or

an agency thereof, including U.S. Treasury bills, a U.S. Treasury Fund, or a bank account that is

either: (a) fully insured by the Federal Deposit Insurance Corporation; or (b) secured by

instruments backed by the full faith and credit of the United States Government. The Escrow

Agent shall reinvest the proceeds of these instruments or accounts as they mature in similar

instruments or accounts at their then-current market rates.          Defendants shall not bear any

responsibility for or liability related to the investment of the Settlement Fund by the Escrow

Agent.

         11.    The Parties agree that the Settlement Fund is intended to be a Qualified

Settlement Fund within the meaning of Treasury Regulation § 1.468B-1 and that Lead Counsel,

as administrator of the Settlement Fund within the meaning of Treasury Regulation § 1.468B-

2(k)(3 ), shall be solely responsible for filing or causing to be filed all informational and other tax

returns as may be necessary or appropriate (including, without limitation, the returns described in

Treasury Regulation § 1.468B-2(k)) for the Settlement Fund.             Lead Counsel shall also be

responsible for causing payment to be made from the Settlement Fund of any Taxes owed with

respect to the Settlement Fund.      The Defendants' Releasees shall not have any liability or

responsibility for any such Taxes.      Upon written request, Defendants will provide to Lead

Counsel the statement described in Treasury Regulation § 1.468B-3(e).              Lead Counsel, as

administrator of the Settlement Fund within the meaning of Treasury Regulation § 1.468B-

2(k)(3), shall timely make such elections as are necessary or advisable to carry out this

paragraph, including, as necessary, making a "relation back election," as described in Treasury

Regulation § 1.468B-l(j), to cause the Qualified Settlement Fund to come into existence at the



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earliest allowable date, and shall take or cause to be taken all actions as may be necessary or

appropriate in connection therewith.

          12.   All Taxes shall be paid out of the Settlement Fund, and shall be timely paid by the

Escrow Agent pursuant to disbursement instructions given by Lead Counsel, and without further

order of the Court. Any tax returns prepared for the Settlement Fund (as well as the election set

forth therein) shall be consistent with the previous paragraph and in all events shall reflect that

all Taxes on the income earned by the Settlement Fund shall be paid out of the Settlement Fund

as provided herein. Defendants ' Releasees shall have no responsibility or liability for the acts or

omissions of Lead Counsel or its agents with respect to the payment of Taxes, as described

herein.

          13.   The Settlemeri.t is not a claims-made settlement. Upon the occurrence of the

Effective Date, no Defendant, Defendants' Releasee, or any other person or entity who or which

paid any portion of the Settlement Amount shall have any right to the return of the Settlement

Fund or any portion thereof for any reason whatsoever, including without limitation, the number

of Claim Forms submitted, the collective amount of Recognized Claims of Authorized

Claimants, the percentage of recovery of losses, or the amounts to be paid to Authorized

Claimants from the Net Settlement Fund.

          14.   Notwithstanding the fact that the Effective Date of the Settlement has not yet

occurred, Lead Counsel may pay from the Settlement Fund, without further approval from

Defendants or further order of the Court, all Notice and Administration Costs actually incurred

and paid or payable. Such costs and expenses shall include, without limitation, the actual costs

of printing and mailing the Postcard Notice, publishing the Summary Notice, reimbursements to

nominee owners for forwarding the Postcard Notice to their beneficial owners, the administrative



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expenses incurred and fees charged by the Claims Administrator in connection with providing

notice, administering the Settlement (including processing the submitted Claims), and the fees, if

any, of the Escrow Agent. In the event that the Settlement is terminated pursuant to the terms of

this Stipulation, all Notice and Administration Costs paid or incurred, including any related fees,

shall not be returned or repaid to any of the Defendants' Releasees, or any other person or entity

who or which paid any portion of the Settlement Amount.

                    ATTORNEYS' FEES AND LITIGATION EXPENSES

        15.    Lead Counsel will apply to the Court for a collective award of attorneys' fees to

Plaintiffs' Counsel to be paid from (and out of) the Settlement Fund. Lead Counsel also will

apply to the Court for reimbursement of Litigation Expenses, which may include a request for

reimbursement of Lead Plaintiffs' costs and expenses directly related to their representation of

the Settlement Class, to be paid from (and out of) the Settlement Fund.            Lead Counsel's

application for an award of attorneys' fees and/or Litigation Expenses is not the subject of any

agreement between Defendants and Lead Plaintiffs other than what is set forth in this Stipulation.

        16.    Any attorneys' fees and Litigation Expenses that are awarded by the Court shall

be paid to Lead Counsel immediately upon award, notwithstanding the existence of any timely

filed objections thereto, or potential for appeal therefrom, or collateral attack on the Settlement

or any part thereof, subject to Lead Counsel's obligation to make appropriate refunds or

repayments to the Settlement Fund, plus accrued interest at the same net rate as is earned by the

Settlement Fund, if the Settlement is terminated pursuant to the terms of this Stipulation or if, as

a result of any appeal or further proceedings on remand, or successful collateral attack, the award

of attorneys' fees and/or Litigation Expenses is reduced or reversed and such order reducing or

reversing the award has become Final.       Lead Counsel shall make the appropriate refund or



                                                19
repayment in full no later than thirty (30) days after: (a) receiving from Defendants' Counsel

notice of the termination of the Settlement; or (b) any order reducing or reversing the award of

attorneys' fees and/or Litigation Expenses has become Final. An award of attorneys' fees and/or

Litigation Expenses is not a necessary term of this Stipulation and is not a condition of the

Settlement embodied herein. Neither Lead Plaintiffs nor Lead Counsel may cancel or terminate

the Settlement based on this Court's or any appellate court's ruling with respect to attorneys'

fees and/or Litigation Expenses.

        17.    Lead Counsel shall allocate the attorneys' fees awarded amongst Plaintiffs'

Counsel in a manner which it, in good faith, believes reflects the contributions of such counsel to

the institution·, prosecution and settlement of the Action. Defendants' Releasees shall have no

responsibility for or liability whatsoever with respect to the allocation or award of attorneys' fees

or Litigation Expenses.     The attorneys' fees and Litigation Expenses that are awarded to

Plaintiffs' Counsel shall be payable solely from the Escrow Account.

                     NOTICE AND SETTLEMENT ADMINISTRATION

        18.    As part of the Preliminary Approval Order, Lead Plaintiffs shall seek appointment

of a Claims Administrator. The Claims Administrator shall administer the Settlement, including

but not limited to the process of receiving, reviewing and approving or denying Claims, under

Lead Counsel's supervision and subject to the jurisdiction of the Court.           Other than RCI's

obligation to provide its securities holders records as provided in       ,r 19   below, none of the

Defendants' Releasees, shall have any involvement in or any responsibility, authority or liability

whatsoever for the selection of the Claims Administrator, the Plan of Allocation, the

administration of the Settlement, the Claims process, or disbursement of the Net Settlement

Fund, and shall have no liability whatsoever to any person or entity, including, but not limited to,



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Lead Plaintiffs, any other Settlement Class Members or Lead Counsel in connection with the

foregoing. Defendants' Counsel shall cooperate in the administration of the Settlement to the

extent reasonably necessary to effectuate its terms.

          19.   In accordance with the terms of the Preliminary Approval Order to be entered by

the Court, Lead Counsel shall cause the Claims Administrator to mail the Postcard Notice to

those members of the Settlement Class as may be identified through reasonable effort. Lead

Counsel shall also cause the Claims Administrator to: (a) post downloadable copies of the Notice

and Claim Form online at www.RCIHoldingsSecuritiesSettlement.com; and (b) have the

Summary Notice published in accordance with the terms of the Preliminary Approval Order to

be entered by the Court. For the purposes of identifying and providing notice to the Settlement

Class, within ten ( 10) business days of the date of entry of the Preliminary Approval Order, RCI

shall provide or cause to be provided to the Claims Administrator in electronic format (at no cost

to the Settlement Fund, Lead Counsel or the Claims Administrator) its security lists (consisting

of names and addresses) of the holders of the RCI common stock during the Settlement Class

Period.

          20.   The Claims Administrator shall receive Claims and determine first, whether the

Claim is a valid Claim, in whole or part, and second, each Authorized Claimant's pro rata share

of the Net Settlement Fund based upon each Authorized Claimant's Recognized Claim compared

to the total Recognized Claims of all Authorized Claimants (as set forth in the Plan of Allocation

set forth in the Notice attached hereto as Exhibit 1 to Exhibit A, or in such other plan of

allocation as the Court approves).

          21.   The Plan of Allocation proposed in the Notice is not a necessary term of the

Settlement or of this Stipulation and it is not a condition of the Settlement or of this Stipulation



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that any particular plan of allocation be approved by the Court.         Lead Plaintiffs and Lead

Counsel may not cancel or terminate the Settlement (or this Stipulation) based on this Court's or

any appellate court's ruling with respect to the Plan of Allocation or any other plan of allocation

in this Action. Defendants and other Defendants' Releasees shall not object in any way to the

Plan of Allocation or any other plan of allocation in this Action. No Defendant, nor any other

Defendants' Releasees, shall have any involvement with or liability, obligation or responsibility

whatsoever for the application of the Court-approved plan of allocation.

       22.     Any Settlement Class Member who does not submit a valid Claim Form will not

be entitled to receive any distribution from the Net Settlement Fund, but will otherwise be bound

by all of the terms of this Stipulation and Settlement, including the terms of the Judgment or, the

Alternate Judgment, if applicable, to be entered in the Action and the releases provided for

herein and therein, and will be permanently barred and enjoined from bringing any action, claim,

or other proceeding of any kind against Defendants' Releasees with respect to the Released

Plaintiffs' Claims in the event that the Effective Date occurs with respect to the Settlement.

       23.     Lead Counsel shall be responsible for supervising the administration of the

Settlement and the disbursement of the Net Settlement Fund subject to Court approval. No

Defendant, or any other Defendants' Releasees, shall be permitted to review, contest or object to

any Claim Form, or any decision of the Claims Administrator or Lead Counsel with respect to

accepting or rejecting any Claim for payment by a Settlement Class Member. Lead Counsel

shall have the right, but not the obligation, to waive what it deems to be formal or technical

defects in any Claim Forms submitted in the interests of achieving substantial justice.




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         24.   For purposes of determining the extent, if any, to which a Settlement Class

Member shall be entitled to be treated as an Authorized Claimant, the following conditions shall

apply:

               (a)     Each Settlement Class Member shall be required to submit a Claim Form,

substantially in the form attached hereto as Exhibit 2 to Exhibit A, supported by such documents

as are designated therein, including proof of the Claimant's loss, or such other documents or

proof as the Claims Administrator or Lead Counsel, in their discretion, may deem acceptable;

               (b)     All Claim Forms must be submitted by the date set by the Court in the

Preliminary Approval Order and specified in the Notice. Any Settlement Class Member who

fails to submit a Claim Form by such date shall be forever barred from receiving any distribution

from the Net Settlement Fund or payment pursuant to this Stipulation (unless by Order of the

Court such Settlement Class Member's Claim Form is accepted), but shall in all other respects be

bound by all of the terms of this Stipulation and the Settlement, including the terms of the

Judgment or Alternate Judgment, if applicable, and the Releases provided for herein and therein,

and will be permanently barred and enjoined from bringing any action, claim or other proceeding

of any kind against any Defendants' Releasees with respect to any Released Plaintiffs' Claim.

Provided that it is mailed by the claim-submission deadline, a Claim Form shall be deemed to be

submitted when postmarked, if received with a postmark indicated on the envelope and if mailed

by first-class mail and addressed in accordance with the instructions thereon. In all other cases,

the Claim Form shall be deemed to have been submitted on the date when actually received by

the Claims Administrator;

               (c)    Each Claim Form shall be submitted to and reviewed by the Claims

Administrator who shall determine in accordance with this Stipulation and the plan of allocation



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the extent, if any, to which each Claim shall be allowed, subject to review by the Court pursuant

to subparagraph (e) below as necessary;

                  (d)    Claim Forms that do not meet the submission requirements may be

rejected.      Prior to rejecting a Claim in whole or in part, the Claims Administrator shall

communicate with the Claimant in writing, to give the Claimant the chance to remedy any

curable deficiencies in the Claim Form submitted. The Claims Administrator shall notify, in a

timely fashion and in writing, all Claimants whose Claim the Claims Administrator proposes to

reject in whole or in part, setting forth the reasons therefor, and shall indicate in such notice that

the Claimant whose Claim is to be rejected has the right to a review by the Court if the Claimant

so desires and complies with the requirements of subparagraph (e) below; and

                  (e)    If any Claimant whose Claim has been rejected in whole or in part desires

to contest such rejection, the Claimant must, within fourteen (14) days after the date of mailing

of the notice required in subparagraph (d) above in the case of timely Claims, and a lesser period

of time for untimely Claims, serve upon the Claims Administrator a notice and statement of

reasons indicating the Claimant's grounds for contesting the rejection along with any supporting

documentation, and requesting a review thereof by the Court. If a dispute concerning a Claim

cannot be otherwise resolved, Lead Counsel shall thereafter present the request for review to the

Court.

         25.      Each Claimant shall be deemed to have submitted to the jurisdiction of the Court

with respect to the Claimant's Claim, and the Claim will be subject to investigation and

discovery under the Federal Rules of Civil Procedure, provided, however, that such investigation

and discovery shall be limited to that Claimant's status as a Settlement Class Member and the




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validity and amount of the Claimant's Claim. No discovery shall be allowed on the merits of this

Action or of the Settlement in connection with the processing of Claim Forms.

         26.    Lead Counsel will apply to the Court, on notice to Defendants' Counsel, for a

Class    Distribution   Order:   (a)   approving        the   Claims   Administrator's   administrative

determinations concerning the acceptance and rejection of the Claims submitted; (b) approving

payment of any administration fees and expenses associated with the distribution of the Net

Settlement Fund; and (c) if the Effective Date has occurred, directing payment of the Net

Settlement Fund to Authorized Claimants from the Escrow Account.

         27.   Payment pursuant to the Class Distribution Order shall be final and conclusive

against all Settlement Class Members. All Settlement Class Members whose Claims are not

approved by the Court for payment shall be barred from participating in distributions from the

Net Settlement Fund, but otherwise shall be bound by all of the terms of this Stipulation and the

Settlement, including the terms of the Judgment or Alternate Judgment, if applicable, to be

entered in this Action and the Releases provided for herein and therein, and will be permanently

barred and enjoined from bringing any action against any and all Defendants' Releasees with

respect to any and all of the Released Plaintiffs' Claims.

         28.   No person or entity shall have any claim against Lead Plaintiffs, Lead Counsel,

the Claims Administrator or any other agent designated by Lead Counsel, or Defendants'

Releasees and/or their respective counsel, arising from distributions made substantially in

accordance with the Stipulation, the plan of allocation approved by the Court, or any order of the

Court.    Lead Plaintiffs and Defendants, and their respective counsel, and Lead Plaintiffs'

damages expert and all other Releasees shall have no liability whatsoever for the investment or

distribution of the Settlement Fund or the Net Settlement Fund, the plan of allocation, or the



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determination, administration, calculation, or payment of any claim or nonperformance of the

Claims Administrator, the payment or withholding of taxes (including interest and penalties)

owed by the Settlement Fund, or any losses incurred in connection therewith.

          29.   All proceedings with respect to the administration, processing and determination

of Claims and the determination of all controversies relating thereto, including disputed

questions of law and fact with respect to the validity of Claims, shall be subject to the

jurisdiction of the Court. All Settlement Class Members and Parties to this Settlement expressly

waive trial by jury (to the extent any such right may exist) and any right of appeal or review with

respect to such determinations.

                                  TERMS OF THE JUDGMENT

          30.   If the Settlement contemplated by this Stipulation is approved by the Court, Lead

Counsel and Defendants' Counsel shall request that the Court enter a Judgment, substantially in

the form attached hereto as Exhibit B.

                    CONDITIONS OF SETTLEMENT AND EFFECT OF
                  DISAPPROVAL, CANCELLATION OR TERMINATION

          31.   The Effective Date of the Settlement shall be deemed to occur on the occurrence

or waiver of all of the following events :

                (a)    the Court has entered the Preliminary Approval Order, substantially in the

form set forth in Exhibit A attached hereto, as required by ~ 3 above;

                (b)    the Settlement Amount has been deposited into the Escrow Account in

accordance with the provisions of~ 8 above;

                (c)    RCI has not exercised its option to terminate the Settlement pursuant to

the provisions of this Stipulation (including the Supplemental Agreement described in         ~   35

below);


                                                26
                 (d)     Lead Plaintiffs have not exercised their option to terminate the Settlement

pursuant to the provisions of this Stipulation; and

                 (e)    the Court has approved the Settlement as described herein, following

notice to the Settlement Class and a hearing, as prescribed by Rule 23 of the Federal Rules of

Civil Procedure, and entered the Judgment and the Judgment has become Final, or the Court has

entered an Alternate Judgment and none of the Parties seek to terminate the Settlement and the

Alternate Judgment has become Final.

          32.    Upon the occurrence of all of the events referenced in     ~   31 above, any and all

remaining interest or right of Defendants in or to the Settlement Fund, if any, shall be absolutely

and forever extinguished and the Releases herein shall be effective.

         33.     If (i) RCI exercises its right to terminate the Settlement as provided in this

Stipulation; (ii) Lead Plaintiffs exercise their right to terminate the Settlement as provided in this

Stipulation; (iii) the Court disapproves the Settlement; or (iv) the Effective Date as to the

Settlement otherwise fails to occur, then:

                 (a)    The Settlement and the relevant portions of this Stipulation shall be

canceled and terminated.

                 (b)    Lead Plaintiffs and Defendants shall revert to their respective positions in

the Action as of January 24, 2022.

                 (c)    The terms and provisions of this Stipulation, with the exception of this

~   33 and~~ 14, 16, 36 and 56, shall have no further force and effect with respect to the Parties

and shall not be used in the Action or in any other proceeding for any purpose, and any

Judgment, or Alternate Judgment, if applicable, or order entered by the Court in accordance with

the terms of this Stipulation shall be treated as vacated, nunc pro tune.



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               (d)     Within five (5) business days after joint written notification of termination

is sent by Defendants' Counsel and Lead Counsel to the Escrow Agent, the Settlement Fund

(including accrued interest thereon and any funds received by Lead Counsel consistent with ,i 16

above), less any Notice and Administration Costs actually incurred, paid or payable and less any

Taxes paid, due or owing shall be refunded by the Escrow Agent to Defendants (or such other

persons or entities as Defendants may direct). In the event that the funds received by Lead

Counsel consistent with ,i 16 above have not been refunded to the Settlement Fund within the

five (5) business days specified in this paragraph, those funds shall be refunded by the Escrow

Agent to Defendants (or such other persons or entities as Defendants may direct) immediately

upon their deposit into the Escrow Account consistent with ,i 16 above.

       34.     It is further stipulated and agreed that Lead Plaintiffs, provided they unanimously

agree, and RCI shall each have the right to terminate the Settlement and this Stipulation, by

providing written notice of their election to do so ("Termination Notice") to the other Parties to

this Stipulation within thirty (30) days of: (a) the Court's final refusal to enter the Preliminary

Approval Order in any material respect; (b) the Court's final refusal to approve the Settlement or

any material part thereof; (c) the Court's final refusal to enter the Judgment in any material

respect as to the Settlement; (d) the date upon which the Judgment is modified or reversed in any

material respect by the United States Court of Appeals for the Fifth Circuit or the United States

Supreme Court; or (e) the date upon which an Alternate Judgment is modified or reversed in any

material respect by the United States Court of Appeals for the Fifth Circuit or the United States

Supreme Court, and the provisions of ,i 33 above shall apply.          However, any decision or

proceeding, whether in this Court or any appellate court, with respect to an application for

attorneys' fees or reimbursement of Litigation Expenses or with respect to any plan of allocation



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shall not be considered material to the Settlement, shall not affect the finality of any Judgment or

Alternate Judgment, if applicable, and shall not be grounds for termination of the Settlement.

       35.     In addition to the grounds set forth in   ,r 34   above, RCI shall have the unilateral

right to terminate the Settlement in the event that Settlement Class Members timely and validly

requesting exclusion from the Settlement Class meet the conditions set forth in RCI's

confidential supplemental agreement with Lead Plaintiffs (the "Supplemental Agreement"), in

accordance with the terms of that agreement. The Supplemental Agreement, which is being

executed concurrently herewith, shall not be filed with the Court and its terms shall not be

disclosed in any other manner (other than the statements herein and in the Notice, to the extent

necessary, or as otherwise provided in the Supplemental Agreement) unless and until the Court

otherwise directs or a dispute arises between Lead Plaintiffs and RCI concerning its

interpretation or application, in which event the Parties shall submit the Supplemental

Agreement to the Court in camera and request that the Court afford it confidential treatment.

                            NO ADMISSION OF WRONGDOING

       36.     Neither this Stipulation (whether or not consummated), including the exhibits

hereto and the Plan of Allocation contained therein (or any other plan of allocation that may be

approved by the Court), the negotiations leading to the execution of this Stipulation, nor any

proceedings taken pursuant to or in connection with this Stipulation and/or approval of the

Settlement (including any arguments proffered in connection therewith):

               (a)    shall be offered against any Defendants' Releasee as evidence of, or

construed as, or deemed to be evidence of any presumption, concession, or admission by any

Defendants' Releasee with respect to the truth of any fact alleged by Lead Plaintiffs or the

validity of any claim that was or could have been asserted or the deficiency of any defense that



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has been or could have been asserted in this Action or in any other litigation, or of any liability,

negligence, fault, or other wrongdoing of any kind of any Defendants' Releasee or in any way

referred to for any other reason as against any Defendants' Releasee, in any civil, criminal or

administrative action or proceeding, other than such proceedings as may be necessary to

effectuate the provisions of this Stipulation;

                (b)    shall be offered against any Plaintiffs' Releasee, as evidence of, or

construed as, or deemed to be evidence of any presumption, concession or admission by any

Plaintiffs' Releasee that any of their claims are without merit, that any Defendants' Releasee had

meritorious defenses, or that damages recoverable under the Complaint would not have exceeded

the Settlement Amount or with respect to any liability, negligence, fault or wrongdoing of any

kind, or in any way referred to for any other reason as against any Plaintiffs' Releasee, in any

civil, criminal or administrative action or proceeding, other than such proceedings as may be

necessary to effectuate the provisions of this Stipulation; or

               (c)     shall be construed against any of the Releasees as an admission,

concession, or presumption that the consideration to be given hereunder represents the amount

which could be or would have been recovered after trial;

provided, however, that if this Stipulation is approved by the Court, the Parties and the Releasees

and their respective counsel may refer to it to effectuate the protections from liability granted

hereunder or otherwise to enforce the terms of the Settlement.

                              MISCELLANEOUS PROVISIONS

       37.    . All of the exhibits attached hereto are hereby incorporated by reference as though

fully set forth herein. Notwithstanding the foregoing, in the event that there exists a conflict or




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inconsistency between the terms of this Stipulation and the terms of any exhibit attached hereto,

the terms of the Stipulation shall prevail.

        38.     Defendants warrant that, as to the payments made or to be made by or on behalf

of them, at the time of entering into this Stipulation and at the time of such payment they, or to

their knowledge any persons or entities contributing to the payment of the Settlement Amount,

were not insolvent, nor will the payment required to be made by or on behalf of them render

them insolvent, within the meaning of and/or for the purposes of the United States Bankruptcy

Code, including §§ I 01 and 547 thereof. This representation is made by each Defendant and not

by their counsel.

        39.     In the event of the entry of a final order of a court of competent jurisdiction

determining the transfer of money to the Settlement Fund or any portion thereof by or on behalf

of Defendants to be a preference, voidable transfer, fraudulent transfer or similar transaction and

any portion thereof is required to be returned, and such amount is not promptly deposited into the

Settlement Fund by others, then, at the election of Lead Plaintiffs, Lead Plaintiffs and

Defendants shall jointly move the Court to vacate and set aside the Releases given and the

Judgment or Alternate Judgment, if applicable, entered in favor of Defendants and other

Releasees pursuant to this Stipulation, in which event the releases and Judgment, or Alternate

Judgment, if applicable, shall be null and void, and the Parties shall be restored to their

respective positions in the litigation as provided in ,I 33 above and any cash amounts in the

Settlement Fund (less any Taxes paid, due or owing with respect to the Settlement Fund and less

any Notice and Administration Costs actually incurred, paid or payable) shall be returned as

provided in ,I 33.




                                                31
        40.     The Parties intend this Stipulation and the Settlement to be a final and complete

resolution of all disputes asserted or which could be asserted by Lead Plaintiffs and any other

Settlement Class Members against Defendants' Releasees with respect to the Released Plaintiffs'

Claims. Accordingly, Lead Plaintiffs and their counsel and Defendants and their counsel agree

not to assert in any forum that this Action was brought by Lead Plaintiffs or defended by

Defendants in bad faith or without a reasonable basis. No Party shall assert any claims of any

violation of Rule 11 of the Federal Rules of Civil Procedure relating to the institution,

prosecution, defense, or settlement of this Action. The Parties agree that the amounts paid and

the other terms of the Settlement were negotiated at arm's-length and in good faith by the

Parties, including through a mediation process supervised and conducted by Ms. Yoshida, and

reflect the Settlement that was reached voluntarily after extensive negotiations and consultation

with experienced legal counsel, who were fully competent to assess the strengths and weaknesses

of their respective clients' claims or defenses.

       41.     While retaining their right to deny that the claims asserted in the Action were

meritorious, Defendants and their counsel, in any statement made to any media representative

(whether or not for attribution) will not assert that the Action was commenced or prosecuted in

bad faith, nor will they deny that the Action was commenced and prosecuted in good faith and is

being settled voluntarily after consultation with competent legal counsel. In all events, Lead

Plaintiffs and their counsel and Defendants and their counsel shall not make any accusations of

wrongful or actionable conduct by either Party concerning the prosecution, defense, and

resolution of the Action, and shall not otherwise suggest that the Settlement constitutes an

admission of any claim or defense alleged.




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        42.    The terms of the Settlement, as reflected in this Stipulation, may not be modified

or amended, nor may any of its provisions be waived except by a writing signed on behalf of

both Lead Plaintiffs and Defendants (or their successors-in-interest).

       43.     The headings herein are used for the purpose of convenience only and are not

meant to have legal effect.

       44.     The administration and consummation of the Settlement as embodied in this

Stipulation shall be under the authority of the Court, and the Court shall retain jurisdiction for the

purpose of entering orders providing for awards of attorneys' fees and Litigation Expenses to

Plaintiffs' Counsel and enforcing the terms of this Stipulation, including the Plan of Allocation

(or such other plan of allocation as may be approved by the Court) and the distribution of the Net

Settlement Fund to Settlement Class Members.

       45.     The waiver by one Party of any breach of this Stipulation by any other Party shall

not be deemed a waiver of any other prior or subsequent breach of this Stipulation.

       46.     This Stipulation and its exhibits and the Supplemental Agreement constitute the

entire agreement among Lead Plaintiffs and Defendants concerning the Settlement and this

Stipulation and its exhibits. All Parties acknowledge that no other agreements, representations,

warranties, or inducements have been made by any Party hereto concerning this Stipulation, its

exhibits or the Supplemental Agreement other than those contained and memorialized in such

documents.

       4 7.    This Stipulation may be executed in one or more counterparts, including by a

.pdf/.tif image of the signature transmitted via email. All executed counterparts and each of them

shall be deemed to be one and the same instrument.




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        48.     This Stipulation shall be binding upon and inure to the benefit of the successors

and assigns of the Parties, including any and all Releasees and any corporation, partnership, or

other entity into or with which any Party hereto may merge, consolidate or reorganize.

        49.     The construction, interpretation, operation, effect and validity of this Stipulation,

the Supplemental Agreement and all documents necessary to effectuate it shall be governed by

the internal laws of the State of Texas without regard to conflicts of laws, except to the extent

that federal law requires that federal law govern.

        50.     Any action arising under or to enforce this Stipulation or any portion thereof, shall

be commenced and maintained only in the Court.

        51.     This Stipulation shall not be construed more strictly against one Party than

another merely by virtue of the fact that it, or any part of it, may have been prepared by counsel

for one of the Parties, it being recognized that it is the result of arm's-length negotiations

between the Parties and all Parties have contributed substantially and materially to the

preparation of this Stipulation.

        52.    All counsel and any other person executing this Stipulation and any of the

exhibits hereto, or any related Settlement documents, warrant and represent that they have the

full authority to do so and that they have the authority to take appropriate action required or

permitted to be taken pursuant to the Stipulation to effectuate its terms.

       53.     Lead Counsel and Defendants' Counsel agree to cooperate fully with one another

in seeking Court approval of the Preliminary Approval Order and the Settlement, as embodied in

this Stipulation, and to use best efforts to promptly agree upon and execute all such other

documentation as may be reasonably required to obtain final approval by the Court of the

Settlement.



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        54.     If any Party is required to give notice to another Party under this Stipulation, such

notice shall be in writing and shall be deemed to have been duly given upon receipt of hand

delivery or facsimile or email transmission, with confirmation of receipt.           Notice shall be

provided as follows:

         If to Lead Plaintiffs or Lead Counsel:        Glancy Prongay & Murray LLP
                                                       Attn: Kara M. Wolke Esq.
                                                       1925 Century Park East, Suite 2100
                                                       Los Angeles CA 90067
                                                       Telephone: (310) 201-9150
                                                       Email: kwolke@glancylaw.com

                                                       -AND-

                                                       The Rosen Law Firm, P.A.
                                                       Attn: Phillip Kim , Esq.
                                                       275 Madison Avenue, 40th Floor
                                                       New York, New York 10016
                                                       Telephone: (212) 686-1060
                                                       Email: pkim@rosenlegal.com

         Ifto Defendants:                          DLA Piper LLP (US)
                                                   Attn: Jason Lewis, Esq.
                                                   1900 . Pearl Street Suite 2200
                                                   Dallas, Texas 75201
                                                   Telephone: (214) 743-4500
                                                   Email: jason.lewis@dlapiper.com

        55.    Except as otherwise provided herein, each Party shall bear its own costs.

        56.    Whether or not the Stipulation is approved by the Court and whether or not the

Stipulation is consummated, or the Effective Date occurs, the Parties and their counsel shall use

their best efforts to keep all negotiations, discussions, acts performed, agreements, drafts,

documents signed and proceedings in connection with the Stipulation confidential.

       57.     All agreements made and orders entered during the course of this Action relating

to the confidentiality of information shall survive this Settlement.




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        58.    No opinion or advice concerning the tax consequences of the proposed Settlement

to individual Settlement Class Members is being given or will be given by the Parties or their

counsel; nor is any representation or warranty in this regard made by virtue of this Stipulation.

Each Settlement Class Member's tax obligations, and the determination thereof, are the sole

responsibility of the Settlement Class Member, and it is understood that the tax consequences

may vary depending on the particular circumstances of each individual Settlement Class

Member.

                             NOTICE AS REQUIRED BY CAFA

       59.     Defendants shall be responsible for timely service of any notices that might be

required pursuant to the Class Action Fairness Act, 28 U.S.C. § 1715 ("CAFA"). Defendants

shall provide a copy of such notices as well as proof of service of such notices to Lead Counsel.

In accordance with 28 U.S.C. § 1715(d), the Settlement Hearing shall not be held earlier than

ninety (90) days after any such requisite notices are served. Defendants shall bear all costs and

expenses associated with providing CAFA notice.

       IN WITNESS WHEREOF, the Parties hereto have caused this Stipulation to be

executed, by their duly authorized attorneys, as of April 14, 2022.




                                                36
     GLANCY PRON GAY & MURRAY LLP


     By: ~         //It. 4(14-: ~
         Kara M. Wolke
     1925 Century Park East, Suite 2100
     Los Angeles, CA 90067
     Telephone: (310) 201-9150
     Email: kwolke@glancylaw.com
     -and-
     THE ROSEN LAW FIRM, P.A.


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     Lead Counsel for Lead Plaintiff
     and the Settlement Class

     KENDALL LAW GROUP, PLLC
     Joe Kendall
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